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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                             Case No. 08-20117-01-JWL


Gregory D. Jordan,

                    Defendant.

                                 MEMORANDUM & ORDER

      In September 2008, defendant Gregory D. Jordan was charged with conspiracy to possess

with intent to distribute five kilograms or more of cocaine and two firearms-related offenses.

On June 10, 2009, Mr. Jordan entered into a written Rule 11(c)(1)(C) plea agreement as to the

conspiracy charge in which the parties proposed the assessment of “a Guideline offense level of

31, for a sentencing range of 135 months to 168 months in prison, with the defendant agreeing

not to request less than 156 months and the Government not requesting more than 168 months.”

The agreement did not specify Mr. Jordan’s criminal history category and disclaimed reliance on

the Guidelines, by asserting that the proposed sentence “is sought pursuant to Fed. R. Crim. P.

11(c)(1)(C)” such that “the parties are not requesting imposition of an advisory guideline

sentence.”

      A presentence investigation report was prepared and calculated Mr. Jordan’s base offense

level at 34 pursuant to U.S.S.G. § 2D1.1, with a two-level enhancement for firearm possession

and a three-level reduction for acceptance of responsibility, for a total offense level of 33. Mr.

Jordan’s criminal history category was III, resulting in a guidelines range of 168 to 210 months.
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On October 20, 2009, the court imposed a sentence of 168 months to be followed by 5 years of

supervised release. Mr. Jordan has now filed a motion pursuant to 18 U.S.C. § 3582(c) to

modify his sentence pursuant to Amendment 782. As will be explained, the motion is dismissed

for lack of jurisdiction.

       Federal courts, in general, lack jurisdiction to reduce a term of imprisonment once it has

been imposed. Freeman v. United States, 131 S. Ct. 2685, 2690 (2011). “A district court does

not have inherent authority to modify a previously imposed sentence; it may do so only pursuant

to statutory authorization.” United States v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997). Under

limited circumstances, modification of a sentence is possible under 18 U.S.C. § 3582(c). That

provision states that “a defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission” may be

eligible for a reduction, “if such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2) (emphasis added).

       In the context of a Rule 11(c)(1)(C) plea agreement, a sentence is deemed “based on” a

guidelines range for purposes of § 3582(c)(2) relief only when the agreement “call[s] for the

defendant to be sentenced within a particular Guidelines sentencing range,” or when the plea

agreement “provide[s] for a specific term of imprisonment . . . but also make[s] clear that the

basis for the specific term is a Guidelines sentencing range applicable to the offense to which the

defendant pleaded guilty.” Freeman v. United States, 131 S. Ct. 2685, 2697-98 (2011); United

States v. Graham, 704 F.3d 1275, 1278 (10th Cir. 2013) (Justice Sotomayor’s concurrence

“represents the Court’s holding”). The court must determine, then, whether Mr. Jordan’s plea

agreement calls for Mr. Jordan “to be sentenced within a particular Guidelines range” or,

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alternatively, whether the agreement expressly uses a Guidelines sentencing range to establish

Mr. Jordan’s term of imprisonment.

       In his motion, Mr. Jordan contends that his sentence was “based on” a specific Guidelines

range—namely, the advisory Guidelines range calculated in the PSR—because the court

“anchored its sentence” to the low-end of that range. In support of this argument, Mr. Jordan

highlights that the court, at the sentencing hearing, explained its sentence of 168 months by

stating “That is the low end of what the guideline range would otherwise have been, and I think

that’s an important factor here.” As Justice Sotomayor recognized in Freeman, however, the

fact that a district court uses the Guidelines as a yardstick in deciding whether to accept a Rule

11(c)(1)(C) agreement does not transform the sentence into one that is “based on a particular

Guidelines sentencing range.” 564 U.S. at 535-36. And the Tenth Circuit has flatly rejected the

argument that a district court’s consideration of the Guidelines during sentencing is sufficient to

demonstrate that an agreement is based on a particular Guidelines sentencing range. United

States v. Price, 627 Fed. Appx. 738, 742 (10th Cir. 2015). In this case, the court sentenced Mr.

Jordan to a term within the parties’ agreed-upon sentencing range and looked to the otherwise

applicable Guidelines range as a yardstick for measuring the appropriateness of that sentence.

See United States v. Garrett, 758 F.3d 749, 755 (6th Cir. 2014) (Freeman instructs that, in the

Rule 11 context, “what the sentencing judge said and did is largely irrelevant”); United States v.

Weatherspoon, 696 F.3d 416, 422 (3rd Cir. 2012) (Under Justice Sotomayor’s approach in

Freeman, any statements made by the District Court at sentencing are irrelevant to the analysis

of whether the sentence is based on a Guidelines sentencing range).



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      The court notes that in the agreement itself, the parties proposed “assessing a Guidelines

offense level of 31, for a sentencing range of 135 months to 168 months,” with additional

modifications as to what the parties were entitled to request within that range. Significantly,

however, Mr. Jordan does not contend that the agreement, in light of the specific range

identified, calls for him to be sentenced within “a particular Guidelines sentencing range” for

purposes of Freeman or that the agreement expressly uses a Guidelines sentencing range to

establish Mr. Jordan’s term of imprisonment for purposes of Freeman.1           Of course, the

agreement itself expressly disavows any specific link to the Guidelines and noted that “the

parties are not requesting imposition of an advisory guideline sentence.” This provision would

indeed make it difficult for Mr. Jordan to now argue that the parties’ agreement calls for Mr.

Jordan to be sentenced within a particular Guidelines range or that the agreement expressly uses

a Guidelines range to establish the proposed term of imprisonment.

      Moreover, Freeman suggests that an agreement will be deemed to utilize a “particular

Guidelines sentencing range” only when that range is the Guidelines range applicable to the

charged offense. 564 U.S. at 534, 540 (if an 11(c)(1)(C) agreement “expressly uses a Guidelines

sentencing range applicable to the charged offense” and that range is subsequently lowered by

the Commission, the defendant is eligible for a reduction); accord United States v. White, 765

F.3d 1240, 1247 (10th Cir. 2014) (Rule 11(c)(1)(C) pleas are “based on” a Guidelines

sentencing range “only when the agreement itself employs the particular Guidelines sentencing

range applicable to the charged offenses.”). The sentencing range agreed upon by the parties

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 In fact, Mr. Jordan seeks a two-level reduction only from the Guidelines range set forth in the
PSR. In other words, Mr. Jordan never seeks a reduction from the sentencing range utilized in
the agreement.
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here is lower than the Guidelines range applicable to Mr. Jordan as set forth in the PSR. See

United States v. Dixon, 687 F.3d 356, 360-62 (7th Cir. 2012) (defendant not eligible for

sentence reduction where Rule 11(c)(1)(C) agreement proposed a binding sentencing range that

was lower than the applicable Guidelines range as calculated by offense level and criminal

history score).

       Nor does the parties’ agreement “make clear” that the basis for the agreed-upon range is a

“Guidelines sentencing range applicable to the offense to which the defendant pleaded guilty.”

Freeman, 546 U.S. at 539. The parties’ agreement references a Guidelines offense level and a

specific sentencing range, but there is no clear link in the agreement itself between the

Guidelines and the range because key information necessary to establish that link (such as Mr.

Jordan’s criminal history score) is missing from the Agreement. See United States v. Jones, ___

Fed. Appx. ___, 2015 WL 8757254, at *3 & n.1 (10th Cir. Dec. 15, 2015) (defendant not

eligible for reduction where 11(c)(1)(C) agreement did not provide all information necessary to

independently calculate the applicable Guidelines sentencing range—specifically, the

defendant’s criminal history category) (citing United States v. Austin, 676 F.3d 924, 930 (9th

Cir. 2012) (noting that because “the plea agreement does not contain any information about

Austin’s criminal history category,” it was “impossible” to determine whether the agreement

employed a particular sentencing range); United States v. Rivera–Martinez, 665 F.3d 344, 349

(1st Cir. 2011) (explaining that when the agreement does not specify the defendant’s criminal

history category, that “silence . . . makes it impossible to conclude from the Agreement alone

that the proposed sentence is based on a specific sentencing range”)).



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       In short, the written terms of the parties’ agreement do not call for Mr. Jordan to be

sentenced within a particular Guidelines sentencing range and do not “make clear” that the basis

for the specified range is a Guidelines sentencing range applicable to the offense to which Mr.

Jordan pleaded guilty.    See Freeman, 546 U.S. at 539.         Because the agreement does not

expressly use a Guidelines sentencing range, Mr. Jordan is not eligible for a sentence reduction

under 3582(c)(2) and the court lacks jurisdiction to modify Mr. Jordan’s sentence.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Jordan’s motion to

reduce sentence (doc. 188) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 26th day of April, 2016, at Kansas City, Kansas.

                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge




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